* °

( sy “470 Darel iy beG ec apy pc

—— hla ched Tp pn fc fhe,
a] aufps [143 ae

Certificate Number: 03621-PA W-CC-036964684

UOMO ANA

W-CC-036964

 

 

 

 

 

 

 

CERTIFICATE OF COUNSELING

I CERTIFY that on November 9, 2022, at 9:27 o'clock AM EST, Daniel J
Adamson received from Credit Card Management Services, Inc. d/b/a
Debthelper.com, an agency approved pursuant to 11 U.S.C. 111 to provide credit
counseling in the Western District of Pennsylvania, an individual [or group]
briefing that complied with the provisions of 11 U.S.C. 109(h) and 111.

A debt repayment plan was not prepared, If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.

This counseling session was conducted by internet,

Date: November 9, 2022 By: /s/Kenslande Jeanbart

 

Name: Kenslande Jeanbart

Title: Credit Counselor

* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).

 

 

 

 
